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                                      UNITED STATES BANKRUPTCY COURT
                                      District of Puerto Rico, San Juan Division
In Re                                                                             Case No:
LOZADA CRUZ, YARILSA
                                                                                  Chapter 13

XXX-XX-3898                                                                       [ ] Check if this is a pre-confirmation amended
                                                                                  plan.
XXX-XX-
                                                                                  [ ] Check if this is a post confirmation amended
                                                                                  plan
Puerto Rico Local Form G                                                             Proposed by:
                                                                                          [ ] Debtor(s)
                                                                                          [ ] Trustee
Chapter 13 Plan dated          January 5, 2018                                            [ ] Unsecured creditor(s)

                                                                                  [ ] If this is an amended plan, list below the
                                                                                  sections of the plan that have been changed.




PART 1 Notices

To Debtors:         This form sets out options that may be appropriate in some cases, but the presence of an option on the
                form does not indicate that the option is appropriate in your circumstances or that it is permissible in your
                judicial district. Plans that do not comply with local rules and judicial rulings may not be confirmable.

                In the following notice to creditors, you must check each box that applies.

To Creditors:   Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you
                do not have an attorney, you may wish to consult one. The headings contained in this plan are inserted for
                reference purposes only and shall not affect the meaning or interpretation of this plan.

                If you oppose the plan’  s treatment of your claim or any provision of this plan, you or your attorney must file
                an objection to confirmation at least 7 days before the date set for the hearing on confirmation, unless
                otherwise ordered by the Bankruptcy Court. The Bankruptcy Court may confirm this plan without further notice if
                no objection to confirmation is filed. See Bankruptcy Rule 3015. In addition, you must file a timely proof of claim in
                order to be paid under this plan, unless ordered otherwise.

                If a claim is withdrawn by a creditor or amended to an amount less than the amount already disbursed under the
                plan on account of such claim : (1) The trustee is authorized to discontinue any further disbursements to related
                claim; (2) The sum allocated towards the payment of such creditor ’   s claim shall be disbursed by the trustee to
                Debtor’  s remaining creditors. (3) If such creditor has received monies from the trustee (Disbursed Payments), the
                creditor shall return funds received in excess of the related claim to the trustee for distribution to Debtor ’
                                                                                                                              s remaining
                creditors. (4) If Debtor has proposed a plan that repays his or her creditors in full, funds received in excess of the
                related claim shall be returned to the Debtor.

                The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether
                or not the plan includes each of the following items. If an item is checked as “
                                                                                               Not included”or if both boxes are
                checked, the provision will be ineffective if set out later in the plan.


 1.1   A limit on the amount of a secured claim, set out in Section 3.2, which may               [X] Included     [ ] Not included
       result in a partial payment or no payment at all to the secured creditor

 1.2   Avoidance of a judicial lien or nonpossessory, nonpurchase-money security                 [ ] Included     [X] Not included
       interest, set out in Section 3.4
 1.3   Nonstandard provisions, set out in Part 8                                                 [ ] Included     [X] Not included

PART 2: Plan Payments and Length of Plan

2.1 Debtor(s) will make payments to the trustee as follows:




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PMT Amount          Period(s)          Period(s) Totals      Comments
395.65              60                 23,739.00
   Subtotals        60                 23,739.00
Insert additional lines if needed

    If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make
    the payments to creditors specified in this plan.

2.2 Regular payments to the trustee will be made from future income in the following manner:

    Check all that apply.
    [ ] Debtor(s) will make payments pursuant to a payroll deduction order.
    [X] Debtor(s) will make payments directly to the trustee.
    [ ] Other (specify method of payment):

2.3 Income tax refunds:

    Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return
    and will comply with 11 U.S.C. § 1325(b)(2). If the Debtor(s) need(s) to use all or a portion of such “Tax Refunds,”Debtor(s) shall
    seek court authorization prior to any use thereof.

2.4 Additional payments:

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 2.4 need not be completed or reproduced.


PART 3: Treatment of Secured Claims

3.1 Maintenance of payments and cure of default, if any.

    Check one.
[X] None. If “
             None”is checked, the rest of § 3.1 need not be completed or reproduced.

3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims.

    Check one.

    [ ] None. If “
                 None”is checked, the rest of § 3.2 need not be completed or reproduced.

    The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

    [X] The Debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental
        secured claim listed below, the Debtor(s) state that the value of the secured claim should be as set out in the column headed
        Amount of Secured Claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a
        secured claim listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount
        listed below. For each listed claim, the value of the secured claim will be paid in full with interest at the rate stated below. If
        no monthly payment is listed below, distribution will be pro-rated according to section 7.2

           The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under
           Part 5 of this plan. If the amount of a creditor ’  s secured claim is listed below as having no value, the creditor’s allowed claim
           will be treated in its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the
           amount of the creditor’   s total claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.

           The holder of any claim listed below as having value in the column headed Amount of Secured Claim will retain the lien on
           the property interest of the Debtor(s) or the estate(s) until the earlier of:

           (a) Payment of the underlying debt determined under nonbankruptcy law, or

           (b) Discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the
           creditor. See Bankruptcy Rule 3015.

Name of           Estimated Collateral             Value of        Amount of       Amount of      Interest     Monthly        Estimated
creditor          Amount of                        Collateral      Claims          Secured        Rate %       PMT to         Total of
                  Creditor’s                                       Senior to       Claim                       Creditor       Monthly
                  Total Claim                                      Creditor’s                                                 PMTs



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                                                                         Claim
Puerto Rico F C     23,870.00       2013 Nissan          13,641.00       0.00          13,641.00    0.00%                      13,641.00
                                    Pathfinder



Insert additional lines as needed.


3.3 Secured claims excluded from 11 U.S.C. § 506.

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 3.3 need not be completed or reproduced.

3.4 Lien Avoidance.

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 3.4 need not be completed or reproduced.

3.5 Surrender of collateral.

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 3.5 need not be completed or reproduced.

3.6 Pre-confirmation adequate protection monthly payments (“
                                                           APMP”) to be paid by the trustee.
    [ ] Payments pursuant to 11 USC §1326(a)(1)(C):
Name of secured creditor                $ Amount of APMP                     Comments
None
Insert additional lines as needed.

    Pre-confirmation adequate protection payments made through the plan by the trustee are subject to the corresponding statutory
    fee.

3.7 Other secured claims modifications.

    Check one.
    [ ] None. If “
                 None”is checked, the rest of § 3.7 need not be completed or reproduced.

    [ ] Secured claims listed below shall be modified pursuant to 11 U.S.C. § 1322(b)(2) and/or § 1322(c)(2). Upon confirmation,
        the trustee shall pay the allowed claim as expressly modified by this section, at the annual interest rate and monthly
        payments described below. Any listed claim will be paid in full through disbursements by the trustee, with interest, if any, at
        the rate stated, pro-rated unless a specific amount is provided below. Unless otherwise ordered by the court, the amounts
        listed on a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts
        listed below. In the absence of a contrary timely filed proof of claim, the amounts stated below are controlling.

Name of           Claim ID #    Claim             Modified    Modified      Modified     Property    Property    Total          Estimated
creditor                        amount            interest    term          P&I          taxes       insurance   monthly        total PMTs
                                                  rate        (Months)      (Escrow)     (Escrow)    (Escrow)    payment        by trustee

                                [
                                ] To be
                            paid in fill                                                                         Starting on
                            100%                                                                                 Plan Month
Insert additional lines as needed.

PART 4: Treatment of Fees and Priority Claims

4.1 General

           Trustee’ s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be
           paid in full without postpetition interest.

4.2 Trustee’s fees
        Trustee’s fees are governed by statute and may vary during the term of the plan, nevertheless are estimated for confirmation
        purposes to be 10 % of all plan payments received by the trustee during the plan term.

4.3 Attorney’
            s fees

    Check one.



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          [X] Flat Fee: Attorney for Debtor(s) elect to be compensated as a flat fee for their legal services, up to the plan
          confirmation, according to LBR 2016-1(f).

    OR

          [ ] Fee Application: The attorneys’    fees amount will be determined by the court, upon the approval of a detailed
          application for fees and expenses, filed not later than 14 days from the entry of the confirmation order.

                       Attorney’  s fees paid pre-petition:                                            $ 132.00
                       Balance of attorney’   s fees to be paid under this plan are estimated to be:   $ 2,868.00
                       If this is a post-confirmation amended plan, estimated attorney ’  s fees:      $ 0.00


4.4 Priority claims other than attorney’
                                       s fees and those treated in §§ 4.5, 4.6.

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 4.4 need not be completed or reproduced.

4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 4.5 need not be completed or reproduced.

4.6 Post confirmation property insurance coverage

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 4.6 need not be completed or reproduced.

PART 5: Treatment of Nonpriority Unsecured Claims

5.1 Nonpriority unsecured claims not separately classified.

    Allowed nonpriority unsecured claims that are not separately classified will be paid pro rata. If more than one option is checked,
    the option providing the largest payment will be effective.

    Check all that apply.

    [ ] The sum of $             .

    [ ]            % of the total amount of these claims, an estimated payment of $               .

    [X] The funds remaining after disbursements have been made to all other creditors provided for in this plan.

    [ ] If the estate of the Debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $
        .

5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims.

    Check one.
    [ ] None. If “
                 None”is checked, the rest of § 5.2 need not be completed or reproduced.

    [X] The Debtor(s) will maintain the contractual installment payments and cure any default in payments on the unsecured claims
        listed below on which the last payment is due after the final plan payment. Contractual installment payments will be
        disbursed either by the trustee or directly by the Debtor(s), as specified below. The claim for the arrearage amount will be
        paid in full as specified below and disbursed by the trustee. The final column includes only payments disbursed by the
        trustee rather than by the Debtor(s).

Name of creditor                                                                    Current            Amount of       Estimated total
                                                                                    installment        arrearage to be payments by
                                                                                    payments           paid            trustee


                                                                                    Disbursed by:
                                                                                    [ ] Trustee
                                                                                    [ ] Debtor(s)
Insert additional lines as needed.



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5.3 Other separately classified nonpriority unsecured claims.

      Check one.
      [X] None. If “
                   None”is checked, the rest of § 5.3 need not be completed or reproduced.

PART 6: Executory Contracts and Unexpired Leases

6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
    contracts and unexpired leases are rejected.

      Check one.
      [X] None. If “
                   None”is checked, the rest of § 6.1 need not be completed or reproduced.

PART 7: Vesting of Property of the Estate & Plan Distribution Order

7.1 Property of the estate will vest in the Debtor(s) upon

      Check the applicable box:

      [ ] Plan confirmation.
      [X] Entry of discharge.
      [ ] Other:

7.2 Plan distribution by the trustee will be in the following order:
    (The numbers below reflect the order of distribution; the same number means prorated distribution among claims with the same
    number.)

      1. Distribution on Adequate Protection Payments (Part 3, Section 3.6)
      1. Distribution on Attorney’ s Fees (Part 4, Section 4.3)
      1. Distribution on Secured Claims (Part 3, Section 3.1) –Current contractual installment payments
      2. Distribution on Post Confirmation Property Insurance Coverage (Part 4, Section 4.6)
      2. Distribution on Secured Claims (Part 3, Section 3.7)
      2. Distribution on Secured Claims (Part 3, Section 3.1) –Arrearage payments
      3. Distribution on Secured Claims (Part 3, Section 3.2)
      3. Distribution on Secured Claims (Part 3, Section 3.3)
      3. Distribution on Secured Claims (Part 3, Section 3.4)
      3. Distribution on Unsecured Claims (Part 6, Section 6.1)
      4. Distribution on Priority Claims (Part 4, Section 4.4)
      5. Distribution on Priority Claims (Part 4, Section 4.5)
      6. Distribution on Unsecured Claims (Part 5, Section 5.2)
      6. Distribution on Unsecured Claims (Part 5, Section 5.3)
      7. Distribution on General Unsecured claims (Part 5, Section 5.1)

      Trustee’
             s fees are disbursed before each of the distributions above described pursuant to 28 U.S.C. § 586(e)(2).

PART 8: Nonstandard Plan Provisions

8.1       Check “None”or list the nonstandard plan provisions

[X] None. If “
             None”is checked, the rest of Part 8 need not be completed or reproduced.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise
included in the Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

Each paragraph below must be numbered and labeled in boldface type, and with a heading stating the general subject
matter of the paragraph.

The following plan provisions will be effective only if there is a check in the box “
                                                                                    Included”in § 1.3.

Insert additional lines as needed.

PART 9: Signature(s)




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                                                                                   Date January 5, 2018



/s/Roberto Figueroa Carrasquillo
Signature of attorney of Debtor(s)

                                                                                   Date January 5, 2018




                                                                                   Date January 5, 2018




Signature(s) of Debtor(s) (required if not represented by an attorney; otherwise
optional)


By filing this document, the attorney for Debtor(s) or Debtor(s) themselves, if not represented by an attorney, also
certify(ies) that the wording and order of the provisions in this chapter 13 plan are identical to those contained in Official
Form 113, other than any nonstandard provisions included in Part 8.




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